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  1                                                          C~-2RK. U.S. DSRtCT COURT

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 8                               UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                      Case No.: ~ ? ~ ~— ~,- ~~ ~~~~
11
                           Plaintiff,                 ORDER OF DETENTION PENDING
12                                                    FURTHER REVOCATION
                   v.                                PROCEEDINGS
13                                                   (FED. R. CRIM. P. 32.1(a)(6); 18
         y SSG. Co.r-Ca•-~ °l                         U.S.C. § 3143(a)(1))
14
                           Defendant.
15
16          The defendant having been arrested in this District pursuant to a warrant
17 issued by the United States District Court for the Ce✓v`h'W~                              District of
18      lam.~i~~rv~~or alleged violations) of the terms and conditions of probation
19 or supervised release; and
20          Having conducted a detention hearing pursuant to Federal Rule of Criminal
21    Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1), the Court finds that:
22 A. (~       The defendant has not met his/her burden of establishing by clear and
23             convincing evidence that he/she is not likely to flee if released under 18
24             U.S.C. § 3142(b) or (c). This finding is based on the following:
25             ~) information in the Pretrial Services Report and Recommendation
26            (~        information in the violation petition and reports)
27            (~        the defendant's nonobjection to detention at this time
28            ()        other:


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  1           and/ or
 2 B.(~       The defendant has not met his/her burden of establishing by clear and
 3            convincing evidence that he/she is not likely to pose a danger to the safety
 4            of any other person or the community if released under 18 U.S.C.
 ~~           § 3142(b) or (c). This finding is based on the following:
 6           (~)    information in the Pretrial Services Report and Recommendation            ~
 7           (~()   information in the violation petition and reports)
              l`'
 8           (~     the defendant's nonobjection to detention at this time                   '~
 9            O     other:
10
11    IT THEREFORE IS ORDERED that the defendant be detained pending the further
12 revocation proceedings.
13
14 Dated:    N.~~~ b~- (-?, ~'Z-i
15                                                United States Magistrate Judge
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